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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

SARAI GABAR,                                       )
a/k/a QUANSA THOMPSON,                             )
                                                   )
                Plaintiff,                         )
                                                   )
          vs.                                      )         No. 4:21-CV-00027 SRC
                                                   )
THE HONORABLE ELLEN W. DUNNE,                      )
et al.,                                            )
                                                   )
                Defendants.                        )

                                    Memorandum and Order

       This matter is before the Court upon its own motion. Self-represented plaintiff Sarai

Gabar filed this civil action on January 7, 2021; however, Plaintiff neither paid the Court filing

fee nor filed a motion to proceed without prepayment of fees or costs.

        Accordingly, the Court orders the Clerk to send Plaintiff an ‘Application to Proceed in

District Court without Prepaying Fees or Costs’ form. The Court further orders that Plaintiff must

either pay the $400 filing fee or submit a motion to proceed without prepaying fees or costs within

twenty-one (21) days of the date of this Order. Failure to comply with this Order will result in

the dismissal of this action without prejudice.

       Dated this 11th day of January 2021.




                                                   STEPHEN R. CLARK
                                                   UNITED STATES DISTRICT JUDGE




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